                      Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 1 of 9


AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 1



                                    UNITED STATES DISTRICT COURT
                                           Western District of Oklahoma
                                                           )
            UNITED STATES OF AMERICA                       )    JUDGMENT IN A CRIMINAL CASE
                             v.                            )
           JOSEPH MALDONADO-PASSAGE,                       )
              a/k/a Joseph Allen Maldonado                      Case Number:         CR-18-00227-001-SLP
                                                           )
             a/k/a Joseph Allen Schreibvogel               )    USM Number:          26154-017
                     a/k/a “Joe Exotic”                    )
                                                           )    William P. Earley and Kyle E. Wackenheim
                                                                Defendant’s Attorney
                                                           )
THE DEFENDANT:
     pleaded guilty to count(s)

     pleaded nolo contendere to count(s)
     which was accepted by the court.
     was found guilty on count(s)    1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, 19, 20, and 21 of the Superseding Indictment.
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                            Offense Ended              Count
18 U.S.C. § 1958(a)           Use of interstate commerce facilities in the commission of a murder             Nov. 2017                 1
and 18 U.S.C. § 2             for hire, aiding and abetting.

18 U.S.C. § 1958(a)           Use of interstate commerce facilities in the commission of a murder             March 2018                    2
and 18 U.S.C. § 2             for hire, aiding and abetting

      The defendant is sentenced as provided in pages 2 through               9        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)

    Count(s) 13 and 14 of the Superseding Indictment were previously dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        January 22, 2020
                                                                        Date of Imposition of Judgment




                                                                        January 23, 2020
                                                                        Date Signed
                      Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 2 of 9

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 1A
                                                                                                  Judgment—Page        2      of        9
DEFENDANT:                      Joseph Maldonado-Passage, a/k/a Joseph Allen Maldonado, a/k/a Joseph Allen Schreibvogel, a/k/a Joe Exotic
CASE NUMBER:                    CR-18-00227-001-SLP

                                       ADDITIONAL COUNTS OF CONVICTION
Title & Section                        Nature of Offense                         Offense Ended                              Count
16 U.S.C § 1538(a)(1)(B),          Violation of the Endangered                        Oct. 2017                                3
16 U.S.C. § 1540(b)(1), and       Species Act, aiding and abetting
18 U.S.C. § 2

16 U.S.C § 1538(a)(1)(B),          Violation of the Endangered                        Oct. 2017                                4
16 U.S.C. § 1540(b)(1), and       Species Act, aiding and abetting
18 U.S.C. § 2

16 U.S.C § 1538(a)(1)(B),          Violation of the Endangered                        Oct. 2017                                5
16 U.S.C. § 1540(b)(1), and       Species Act, aiding and abetting
18 U.S.C. § 2

16 U.S.C § 1538(a)(1)(B),          Violation of the Endangered                        Oct. 2017                                6
16 U.S.C. § 1540(b)(1), and       Species Act, aiding and abetting
18 U.S.C. § 2

16 U.S.C § 1538(a)(1)(B),          Violation of the Endangered                        Oct. 2017                                7
16 U.S.C. § 1540(b)(1), and       Species Act, aiding and abetting
18 U.S.C. § 2

16 U.S.C. §1538(a)(1)(F)           Violation of the Endangered                       10/30/2017                                8
and 16 U.S.C. § 1540(b)(1)        Species Act, aiding and abetting

16 U.S.C. §1538(a)(1)(F)           Violation of the Endangered                       11/16/2016                                9
and 16 U.S.C. § 1540(b)(1)        Species Act, aiding and abetting

16 U.S.C. §1538(a)(1)(F)           Violation of the Endangered                       02/03/2018                               10
and 16 U.S.C. § 1540(b)(1)        Species Act, aiding and abetting

16 U.S.C. §1538(a)(1)(F)           Violation of the Endangered                       03/06/2018                               11
and 16 U.S.C. § 1540(b)(1)        Species Act, aiding and abetting

16 U.S.C. § 3372(d)(2),             Violation of the Lacey Act:                      11/16/2016                               12
16 U.S.C. § 3373(d)(3)(A)            False labeling of wildlife
(ii) and 18 U.S.C. § 2

16 U.S.C. § 3372(d)(2),             Violation of the Lacey Act:                      06/11/2017                               15
16 U.S.C. § 3373(d)(3)(A)            False labeling of wildlife
(ii) and 18 U.S.C. § 2
                      Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 3 of 9

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 1B
                                                                                                  Judgment—Page        3      of        9
DEFENDANT:                      Joseph Maldonado-Passage, a/k/a Joseph Allen Maldonado, a/k/a Joseph Allen Schreibvogel, a/k/a Joe Exotic
CASE NUMBER:                    CR-18-00227-001-SLP

                                       ADDITIONAL COUNTS OF CONVICTION
Title & Section                        Nature of Offense                         Offense Ended                              Count
16 U.S.C. § 3372(d)(2),             Violation of the Lacey Act:                      02/03/2018                               16
16 U.S.C. § 3373(d)(3)(A)            False labeling of wildlife
(ii) and 18 U.S.C. § 2

16 U.S.C. § 3372(d)(2),             Violation of the Lacey Act:                      03/06/2018                               17
16 U.S.C. § 3373(d)(3)(A)            False labeling of wildlife
(ii) and 18 U.S.C. § 2

16 U.S.C. § 3372(d)(2),             Violation of the Lacey Act:                      06/12/2018                               18
16 U.S.C. § 3373(d)(3)(A)            False labeling of wildlife
(ii) and 18 U.S.C. § 2

16 U.S.C. § 3372(d)(2),             Violation of the Lacey Act:                      06/13/2018                               19
16 U.S.C. § 3373(d)(3)(A)            False labeling of wildlife
(ii) and 18 U.S.C. § 2

16 U.S.C. § 3372(d)(2),             Violation of the Lacey Act:                      06/18/2018                               20
16 U.S.C. § 3373(d)(3)(A)            False labeling of wildlife
18 U.S.C. § 2

16 U.S.C. § 3372(d)(2),             Violation of the Lacey Act:                      09/29/2017                               21
16 U.S.C. § 3373(d)(3)(A)            False labeling of wildlife
(ii) and 18 U.S.C. § 2
                      Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 4 of 9

AO 245B (Rev. 09/19) Judgment in Criminal Case
                    Sheet 2 — Imprisonment

                                                                                                     Judgment — Page       4        of    9
DEFENDANT:                    Joseph Maldonado-Passage, a/k/a Joseph Allen Maldonado, a/k/a Joseph Allen Schreibvogel, a/k/a Joe Exotic
CASE NUMBER:                  CR-18-00227-001-SLP

                                                             IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
        264 months. This consists of 108 months on Ct. 1; 108 months on Ct. 2, to run consecutively to Ct. 1;
        12 months on each of Cts. 3-11, to run concurrently with each other and with Ct. 1; and 48 months on each
        of Cts. 12 and 15-21, to run concurrently with each other but consecutively to Cts. 1 and 2.


           The court makes the following recommendations to the Bureau of Prisons:

         It is recommended the defendant participate in the Federal Bureau of Prisons Inmate Financial Responsibility Program at a rate
         determined by Bureau of Prisons staff in accordance with the program.

         It is recommended that the defendant, if eligible, be designated to FMC Fort Worth or FPC Pensacola.


          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
               at                                     a.m.         p.m.     on                                                 .
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               By 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:



        Defendant delivered
                                                                                          to
        on

at                                                 , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                           By

                                                                                 DEPUTY UNITED STATES MARSHAL




                                                                                                      Judgment—Page       5        of     9
                      Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 5 of 9
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                    Sheet 3 — Supervised Release

DEFENDANT:               Joseph Maldonado-Passage, a/k/a Joseph Allen Maldonado, a/k/a Joseph Allen Schreibvogel, a/k/a Joe Exotic
CASE NUMBER:             CR-18-00227-001-SLP

                                                   SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
3 years on each of Cts. 1, 2, 12, and 15-21, and 1 year on each of Cts. 3-11.


                                                   MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
     release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               The above drug testing condition is suspended, based on the court's determination that you pose a low risk
               of future substance abuse. (check if applicable)
         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
4.
         sentence of restitution. (check if applicable)
5.       You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
6.       seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the
         location where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       You must participate in an approved program for domestic violence. (check if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on
the attached page.
                     Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 6 of 9

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3A — Supervised Release
                                                                                           Judgment—           6        of           9
DEFENDANT:               Joseph Maldonado-Passage, a/k/a Joseph Allen Maldonado, a/k/a Joseph Allen Schreibvogel, a/k/a Joe Exotic
CASE NUMBER:             CR-18-00227-001-SLP

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.


1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
    of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
    within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
    how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
    permission from the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
    living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
    the probation officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
    probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
    excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
    the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
    (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances,
    you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
    has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
    the permission of the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.
12. Stricken.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
and Supervised Release Conditions, available at: www.uscourts.gov.


Defendant's                                                                                        Date
Signature
                    Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 7 of 9
AO 245B(Rev. 09/19) Judgment in a Criminal Case
                    Sheet 3B— Supervised Release

                                                                                                 Judgment—Page        7     of     9
DEFENDANT:             Joseph Maldonado-Passage, a/k/a Joseph Allen Maldonado, a/k/a Joseph Allen Schreibvogel, a/k/a Joe Exotic
CASE NUMBER:           CR-18-00227-001-SLP

                                   SPECIAL CONDITIONS OF SUPERVISION


The defendant shall participate in a program of mental health aftercare at the direction of the
probation officer. The court may order that the defendant contribute to the cost of services
rendered (copayment) in an amount to be determined by the probation officer based on the
defendant’s ability to pay.

The defendant shall participate in a program of substance abuse aftercare at the direction of
the probation officer to include urine, breath, or sweat patch testing; and outpatient treatment.
The defendant shall totally abstain from the use of alcohol and other intoxicants both during
and after completion of any treatment program. The defendant shall not frequent bars, clubs,
or other establishments where alcohol is the main business. The court may order that the
defendant contribute to the cost of services rendered (copayment) in an amount to be
determined by the probation officer based on the defendant’s ability to pay.

The defendant must submit to a search of his person, property, electronic devices or any
automobile under his control to be conducted in a reasonable manner and at a reasonable
time, for the purpose of determining possession, or evidence of possession, of controlled
substances, firearms or other prohibited weapons, animals protected by the Endangered
Species Act, prohibited wildlife species as defined by the Lacey Act, and/or evidence of
contact with or threats toward Carole Baskin or any other representative of Big Cat Rescue, at
the direction of the probation officer upon reasonable suspicion. Further, the defendant must
inform any residents that the premises may be subject to a search.

The defendant shall have no contact with Carole Baskin. The defendant is prohibited from
making any threats regarding the person or property of Carole Baskin.

The defendant shall not possess any species of animal listed as endangered or threatened
under the Endangered Species Act or any prohibited wildlife species as defined by the Lacey
Act. In addition to this prohibition on possession, the defendant shall not engage in the sale,
transport, or other transfer of such animals or their hides or other body parts.
                        Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 8 of 9

 AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 5 — Criminal Monetary Penalties

                                                                                                      Judgment — Page        8       of      9
  DEFENDANT:                     Joseph Maldonado-Passage, a/k/a Joseph Allen Maldonado, a/k/a Joseph Allen Schreibvogel, a/k/a Joe Exotic
  CASE NUMBER:                   CR-18-00227-001-SLP
                                              CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment               Restitution             Fine                          AVAA Assessment*               JVTA Assessment**
 TOTALS          $ 1,225.00             $                       $                             $                          $


      The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.


 Name of Payee                              Total Loss***                      Restitution Ordered                      Priority or Percentage




 TOTALS                             $                                      $
    Restitution amount ordered pursuant to plea agreement $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
    before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
    6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         the interest requirement is waived for the             fine           restitution.

         the interest requirement for the            fine       restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.




AO 245B (Rev. 09/19) Judgment in a Criminal Case
                    Case 5:18-cr-00227-SLP Document 134 Filed 01/23/20 Page 9 of 9
                  Sheet 6 — Schedule of Payments

                                                                                                  Judgment — Page      9      of      9
DEFENDANT:              Joseph Maldonado-Passage, a/k/a Joseph Allen Maldonado, a/k/a Joseph Allen Schreibvogel, a/k/a Joe Exotic
CASE NUMBER:            CR-18-00227-001-SLP
                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A        Lump sum payment of $        1,225.00           due immediately, balance due

               not later than                                , or
               in accordance with           C,          D,           E, or          F below; or

B        Payment to begin immediately (may be combined with                               C,           D, or          F below); or

C        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                       (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D        Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

E        Payment during the term of supervised release will commence within                          (e.g., 30 or 60 days)

         after release from imprisonment. The court will set the payment plan based on an assessment of the defendant’s
         ability to pay at that time; or

F        Special instructions regarding the payment of criminal monetary penalties:
      If restitution is not paid immediately, the defendant shall make payments of 10% of the defendant’s quarterly earnings
      during the term of imprisonment.

      After release from confinement, if restitution is not paid immediately, the defendant shall make payments of the greater of
      $______ per month or 10% of defendant’s gross monthly income, as directed by the probation officer. Payments are to
      commence not later than 30 days after release from confinement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be paid through the United States Court Clerk for
the Western District of Oklahoma, 200 N.W. 4th Street, Oklahoma City, Oklahoma 73102.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
    Joint and Several

     Case Number
     Defendant and Co-Defendant Names                                              Joint and Several                Corresponding Payee,
     (including defendant number)                   Total Amount                        Amount                          if appropriate




     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following court cost(s):
     The defendant shall forfeit the defendant’s interest in the following property to the United States:
     All right, title, and interest in the assets listed in the Preliminary Order of Forfeiture dated ______ (doc. no. ___).

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.
